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                                      UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS SHERMAN DIVISION

UNITED STATES OF AMERICA                                                  §     JUDGMENT IN A CRIMINAL CASE
                                                                          §
v.                                                                        §
                                                                          §     Case Number: 4:18-CR-00098-ALM-CAN(3)
JHON EDUIS VIAFARA MINA                                                   §     USM Number: 29171-078
                                                                          §     Donald Lee Bailey
                                                                          §     Defendant’s Attorney

THE DEFENDANT:
☐ pleaded guilty to count(s)
     pleaded guilty to count(s) before a U.S. Magistrate
☒ Judge, which was accepted by the court.                        Count 1 of the Indictment
     pleaded nolo contendere to count(s) which was
☐    accepted by the court
☐    was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                                    Offense Ended         Count
21 U.S.C. §§ 963 and 960(b)(1)(B) - Conspiracy to Manufacture and Distribute Cocaine Intending,        06/13/2018            1
                                    Knowing and with Reasonable Cause to Believe that the
                                    Cocaine will be Unlawfully Imported into the United States




The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)
☒ Count(s) 2 ☒ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                   March 31, 2021
                                                                   Date of Imposition of Judgment




                                                                   Signature of Judge

                                                                   AMOS L. MAZZANT, III
                                                                   UNITED STATES DISTRICT JUDGE
                                                                   Name and Title of Judge

                                                                   April 1, 2021
                                                                   Date
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DEFENDANT:                JHON EDUIS VIAFARA MINA
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                                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
135 months.

     The court makes the following recommendations to the Bureau of Prisons: The Court recommends that Defendant be designated
     to McRae Correctional Institution in Georgia, if appropriate. The Court recommends the Defendant receive appropriate drug
☒    treatment while imprisoned.




☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:

        ☐ at                                      ☐     a.m.       ☐     p.m.      on

        ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        ☐ before 2 p.m. on
        ☐ as notified by the United States Marshal.
        ☐ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                    to


at                                     , with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL

                                                                                                    By
                                                                                        DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                 JHON EDUIS VIAFARA MINA
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                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: five (5) years.



                                          MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
4.   ☐    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
          of restitution. (check if applicable)
5. ☒      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
          you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

         You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
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DEFENDANT:                 JHON EDUIS VIAFARA MINA
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                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature                                                                               Date
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DEFENDANT:                JHON EDUIS VIAFARA MINA
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                                SPECIAL CONDITIONS OF SUPERVISION


As a condition of supervised release, immediately upon release from confinement, you must be surrendered to a
duly authorized immigration official for deportation proceedings in accordance with the established procedures
provided by the Immigration and Nationality Act, 8 U.S.C. § 1101, et seq. If ordered deported, you must remain
outside of the United States. In the event you are not deported, or for any reason re-enter the country after
having been deported, you must comply with all conditions of supervised release, to include reporting to the
nearest United States Probation Office within 72 hours of release by immigration officials or re-entry into the
country.

You must provide the probation officer with access to any requested financial information for purposes of
monitoring your efforts to obtain and maintain lawful employment.

You must participate in a program of testing and treatment for substance abuse and follow the rules and
regulations of that program until discharged. The probation officer, in consultation with the treatment provider,
will supervise your participation in the program. You must pay any cost associated with treatment and testing.
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DEFENDANT:                   JHON EDUIS VIAFARA MINA
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                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                    Assessment                Restitution             Fine       AVAA Assessment*                          JVTA Assessment**
TOTALS                  $100.00                      $.00              $.00                       $.00                                  $.00

☐ The determination of restitution is deferred until      An Amended Judgment in a Criminal Case (AO245C) will be entered
      after such determination.
     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18
         U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.




☐ Restitution amount ordered pursuant to plea agreement $
☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
      payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      ☐ the interest requirement is waived for the          ☐ fine                               ☐ restitution
      ☐ the interest requirement for the                        ☐ fine                                ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                    JHON EDUIS VIAFARA MINA
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☒ Lump sum payments of $ 100.00 due immediately, balance due
      ☐ not later than                                          , or

      ☒ in accordance                     ☐       C,         ☐         D,       ☐       E, or        ☒       F below; or

B     ☐ Payment to begin immediately (may be combined with                      ☐       C,           ☐       D, or              ☐      F below); or

C     ☐ Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                                  (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                 over a period of
                                (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment
             to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release
             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
             time; or

F     ☒ Special instructions regarding the payment of criminal monetary penalties:
             It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
             shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

     Joint and Several
      See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
      Several Amount, and corresponding payee, if appropriate.

      ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
      loss that gave rise to defendant's restitution obligation.
☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court cost(s):
☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of prosecution and
court costs.
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DEFENDANT:                   JHON EDUIS VIAFARA MINA
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                                         DENIAL OF FEDERAL BENEFITS
                                      (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

        IT IS ORDERED that the defendant shall be:

☐     ineligible for all federal benefits for a period of
☐     ineligible for the following federal benefits for a period of
      (specify benefit(s))

                                                                      OR

☐     Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
      ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

      IT IS ORDERED that the defendant shall:
☒     be ineligible for all federal benefits for a period of one (1) year.
☐     be ineligible for the following federal benefits for a period of
      (specify benefit(s))

☐     successfully complete a drug testing and treatment program.
☐     perform community service, as specified in the probation and supervised release portion of this judgment.
      IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in
      this judgment as a requirement for the reinstatement of eligibility for federal benefits.


         Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security,
health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or
services are required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment
to:

                         U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
